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Counsel to Ernst & Young Inc., as the Monitor
and Foreign Representative of Peraso Technologies Inc.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:
                                                                  Chapter 15
    PERASO TECHNOLOGIES INC., 1
                                                                  Case No. 20-_____ (___)
                 Debtor in a Foreign Proceeding.



                    VERIFIED PETITION FOR RECOGNITION OF FOREIGN
                           PROCEEDING AND RELATED RELIEF


                   Ernst & Young Inc. is the court-appointed monitor (the “Monitor”) and authorized

foreign representative of Peraso Technologies Inc. (“Peraso”) in a proceeding (the “Canadian

Proceeding”) under Canada’s Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36 (as

amended, the “CCAA”), pending before the Ontario Superior Court of Justice, Commercial List

(the “Ontario Court”).

                   The Monitor has commenced this chapter 15 case ancillary to the Canadian

Proceeding and respectfully files this Verified Petition for Recognition of Foreign Proceeding and




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      The last four digits of the United States Tax Identification Number, or similar foreign identification number, as
      applicable, for Peraso Technologies Inc. are 8747
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Related Relief (the “Chapter 15 Petition”), with accompanying documentation, pursuant to

sections 1504 and 1515 of title 11 of the United States Code (the “Bankruptcy Code”) seeking

the entry of an order substantially in the form annexed hereto as Exhibit A (the “Proposed

Order”): (i) recognizing the Canadian Proceeding as a “foreign main proceeding” under section

1517 of the Bankruptcy Code; and (ii) giving full force and effect in the United States to the Initial

Order of the Ontario Court dated June 3, 2020 (together with any extensions or amendments

thereof authorized by the Ontario Court, the “Initial Order”).

               The Monitor has also filed: (i) a Memorandum of Law in Support of Verified

Petition for Recognition of Foreign Proceeding and Related Relief setting forth the legal argument

for the relief sought in the Chapter 15 Petition (the “Memorandum of Law”); and (ii) an

Emergency Motion for Provisional Relief seeking certain provisional relief pending final

disposition of the Chapter 15 Petition (the “Provisional Relief Motion”).

               In support of the Chapter 15 Petition, the Monitor respectfully states as follows:

                                 JURISDICTION AND VENUE

               This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

section 1501 of the Bankruptcy Code, and the Amended Standing Order of Reference of the United

States District Court for the Southern District of New York, dated January 31, 2012, Reference M-

431. See In re Standing Order of Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y. Jan. 31, 2012)

(Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P). Venue is proper in

this District pursuant to 28 U.S.C. § 1410. The statutory predicates for the relief requested herein

are sections 105(a), 1504, 1507, 1509, 1515, 1517, 1520 and 1521 of the Bankruptcy Code.




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                                            BACKGROUND

                  1.       For a detailed description of Peraso’s business, corporate organization,

capital structure, and circumstances leading to the Canadian Proceeding, the Court is respectfully

referred to: (i) the Affidavit of Ronald Glibbery in support of the commencement of the Canadian

Proceeding sworn to June 2, 2020 (the “Glibbery Affidavit”); and (ii) the Pre-Filing Report of

the Proposed Monitor dated June 2, 2020 (the “Pre-Filing Report”). The Glibbery Affidavit and

the Pre-Filing Report were submitted to the Ontario Court at the commencement of the Canadian

Proceeding and are annexed as Exhibits A and B, respectively, to the Declaration of Ken Coleman

dated June 3, 2020 and filed contemporaneously herewith (the “Coleman Declaration”).

A.       Introduction

                  2.       Peraso is a small, private Canadian fabless semiconductor company that

specializes in the development of integrated circuits and chipsets for use in wireless technology

that operates on the 60 GHz band. 2 The 60 GHz band is a band of extremely high radio frequencies

that allow the short-range transmission of data at high data speeds up to multiple gigabits per

second. 3 Wireless technology that operates on the 60 GHz band can be used in a variety of

applications, including the creation of high-speed wireless networks and the delivery of high-speed

broadband. 4

                  3.       Peraso’s current revenue is primarily derived from engineering services, as

it is a developing company and not all of its products are currently available for sale. 5 Going


2
     Glibbery Affidavit ¶¶ 6,11.
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     Glibbery Affidavit ¶ 11.
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     Glibbery Affidavit ¶ 11.
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     Glibbery Affidavit ¶ 17.




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forward, Peraso anticipates that its revenue will be generated from two core business segments:

software and chipsets. 6 Peraso is in the process of leveraging its 60 GHz wireless technology

expertise and related intellectual property to enter the 5G wireless technology market. 7

                  4.       Peraso’s commencement of the Canadian Proceeding has been driven in

large part by an ongoing dispute with Ubiquiti Inc. and certain of its affiliates (collectively,

“Ubiquiti”) arising out of a late 2018 transaction under which Peraso would develop certain

chipsets as per Ubiquiti’s specifications and Ubiquiti would provide Peraso with equity financing,

totaling $15 million across three tranches, upon the satisfaction of certain pre-agreed development

milestones. 8 Ubiquiti, a large publicly-traded wireless networking company based in New York

City, is Peraso’s largest customer—responsible for approximately 95% of Peraso’s component

revenue and 40% of Peraso’s overall revenue—and one of its shareholders. 9 As Peraso was and

remains in the early stages of generating revenue, with significant research and development,

marketing, and other costs that have to date greatly exceeded its revenues, the funding from the

Ubiquiti transaction was critical for Peraso to fund its operations and remain solvent. 10

                  5.       In 2019, Peraso did not receive $10 million of expected investment from

Ubiquiti, giving rise to serious financial challenges and concerns about its solvency. 11 Peraso has

since engaged in efforts to obtain alternative financing, including additional investment or an

acquisition. 12 Further, in order to address immediate funding needs, Peraso issued approximately



6
     Glibbery Affidavit ¶ 17.
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     Glibbery Affidavit ¶ 19.
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     Glibbery Affidavit ¶¶ 28-33.
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     Glibbery Affidavit ¶¶ 6, 24.
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     Glibbery Affidavit ¶ 31.
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     Glibbery Affidavit ¶¶ 34-38, 77.
12
     Glibbery Affidavit ¶ 40.




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$1.75 million of secured notes in 2019 (the “2019 Notes”), 13 followed by another issuance of

approximately $3.88 million in 2020 (the “2020 Notes”). 14

                  6.       On January 16, 2020, Peraso sent notice to terminate the License Agreement

(and therefore the exclusivity provision therein) on the basis that Ubiquiti failed to provide Peraso

with notice of its acceptance or rejection of Peraso’s satisfaction of two milestones, as was required

under the License Agreement. 15

                  7.       Shortly thereafter, Ubiquiti commenced multiple legal proceedings against

Peraso and certain of its now-former and current directors in Canada and the United States,

challenging, among other things, the termination of the licensing and development arrangements

and the propriety of certain steps taken by Peraso to secure additional financing in 2020. 16 The

cloud cast by the litigations in both jurisdictions has thus far prevented Peraso from raising

additional funds, pursuing a sales process, or even marketing certain of its products. 17

                  8.       While the proceeds of the 2019 Notes and the 2020 Notes allowed Peraso

to meet certain of its immediate obligations, including payroll, 18 Peraso’s monthly cash burn is

approximately $1 million and it has cash reserves of less than $1.4 million. 19 Peraso therefore

anticipates it will run out of cash by late June 2020. 20 The ongoing efforts to respond to the




13
     Glibbery Affidavit ¶ 40.
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     Glibbery Affidavit ¶¶ 54-59.
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     Glibbery Affidavit ¶ 45.
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     Glibbery Affidavit ¶¶ 49-51, 60-66.
17
     Glibbery Affidavit ¶¶ 7, 77-85.
18
     Glibbery Affidavit ¶ 78.
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     Glibbery Affidavit ¶ 87.
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     Glibbery Affidavit ¶ 87.




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litigations are also a significant strain on Peraso’s already-limited resources. 21 Thus, on June 3,

2020, Peraso commenced the Canadian Proceeding to, among other things, stabilize its operations

and resolve its dispute with Ubiquiti in order to improve its prospects for additional financing or

investment. 22

B.       Events Leading to the Canadian Proceeding

                  9.      On December 21, 2018, Peraso and Ubiquiti Inc. entered into a License and

Development Agreement dated December 21, 2018 (the “License Agreement”), under which

Peraso would develop certain chipsets in accordance with Ubiquiti’s specifications and grant

Ubiquiti certain related intellectual property and exclusivity rights. 23 In particular, the License

Agreement included an exclusivity clause under which, with few exceptions, Peraso would be

restricted from manufacturing, distributing, offering or selling any of the chipsets covered by the

License Agreement in select markets other than to Ubiquiti or affiliates of Ubiquiti (the

“Exclusivity Clause”). 24

                  10.     The parties entered into the License Agreement as part of a larger

transaction under which, as Peraso progressed through three development milestones

(“Tranche Development Milestones”) established under the License Agreement, Ubiquiti would

cause its Canadian affiliate, Ubiquiti Networks Canada Inc. (“Ubiquiti Canada”), to provide

Peraso with additional equity capital by purchasing additional Class C Convertible Preferred




21
     Glibbery Affidavit ¶ 7.
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     Glibbery Affidavit ¶ 8.
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     Glibbery Affidavit ¶¶ 28-29.
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     Glibbery Affidavit ¶ 29.




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Shares of Peraso pursuant to a Class C Series 1 Convertible Preferred Share Subscription

Agreement dated December 21, 2018 (the “Subscription Agreement”). 25

                  11.      In connection with the transaction, Peraso and Ubiquiti Canada also entered

into a Letter Agreement in respect of Class C Series 1 Convertible Preferred Share Subscription

Agreement dated December 21, 2018 to document certain ancillary agreements relating to the

Subscription Agreement (the “Letter Agreement”). 26 Peraso and Ubiquiti Cayman Limited

(“Ubiquiti Cayman”), a Cayman affiliate of Ubiquiti, entered into a Master Purchase and Supply

Agreement dated December 21, 2018 for the supply of certain chipset and related products (the

“Supply Agreement”). 27

                  12.      The Tranche Development Milestones and the related funding obligations

under the Subscription Agreement were material aspects of the transaction between Peraso and

Ubiquiti because they provided a predictable flow of capital to Peraso during a period in which it

was still in the early stages of generating revenue. Peraso’s business depended on this flow of

capital to fund its operations and, more generally, to remain solvent. 28

                  13.      As the first Tranche Development Milestone had already been satisfied at

the time Peraso and Ubiquiti entered into the License Agreement, Ubiquiti Canada purchased

4,583,164 Class C Convertible Preferred Shares for $5 million at the closing of the transaction on

December 21, 2018. 29 In connection with such purchase, Peraso and its shareholders entered into




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     Glibbery Affidavit ¶ 30.
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     Glibbery Affidavit ¶ 28.
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     Glibbery Affidavit ¶ 28.
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     Glibbery Affidavit ¶ 31.
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     Glibbery Affidavit ¶ 32.




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an Eighth Amended and Restated Unanimous Shareholders Agreement dated December 21, 2018,

pursuant to which Ubiquiti Canada, notwithstanding its relatively small equity position, was

granted certain limited observer rights on Peraso’s board of directors (the “Peraso Board”). 30

                  14.      On January 29, 2019, Peraso gave notice to Ubiquiti that it had met the

second Tranche Development Milestone and that, accordingly, Ubiquiti Canada was required to

purchase $2 million of additional Class C Convertible Preferred Shares but did not do so. 31

                  15.      On October 31, 2019, Peraso gave notice to Ubiquiti that it had met the third

Tranche Development Milestone and that, accordingly, Ubiquiti Canada was required to purchase

$8 million of additional Class C Convertible Preferred Shares but did not do so. 32

                  16.      The $10 million total investment that Peraso expected to receive from

Ubiquiti Canada upon the satisfaction of the second and third Tranche Development Milestones

was critical to Peraso’s ability to continue its operations, and the absence of those funds would

raise serious solvency concerns. 33 Accordingly, on or about October 1, 2019, anticipating that

neither the second nor third Tranche Development Milestones payments would be made, Peraso

began to explore potential alternative sources of financing. Peraso informed Ubiquiti that it was

doing so and invited Ubiquiti, among others, to enter into a term sheet whereby Peraso would issue

secured notes, i.e., the 2019 Notes. 34




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     Glibbery Affidavit ¶ 33.
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     Glibbery Affidavit ¶ 34.
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     Glibbery Affidavit ¶ 35.
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     Glibbery Affidavit ¶ 40.
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     Glibbery Affidavit ¶ 40.




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                  17.      Peraso subsequently completed the issuance of the 2019 Notes, in the

aggregate principal amount of $1,748,035.40, to Polar Multi-Strategy Master Fund (“Polar”) and

funds affiliated with Roadmap Capital Inc. (“Roadmap”). 35 Ubiquiti was offered the opportunity

to participate in the 2019 Notes but declined to do so. 36 The 2019 Notes carry an interest rate of

6% per annum and mature on December 31, 2023 (the 2019 Notes originally matured on June 30,

2025 but their terms were amended on March 13, 2020). 37

                  18.      On December 11, 2019, Peraso sent a written notice of default to Ubiquiti,

asserting that Ubiquiti’s failure to accept or reject Peraso’s satisfaction of the second and third

Tranche Development Milestones were defaults and demanding cure within 30 days. 38 Ubiquiti

did not cure and on January 16, 2020, Peraso took steps to terminate the License Agreement. 39

                  19.      On February 6, 2020, Peraso entered into an exclusivity agreement with a

potential third-party purchaser, and on or about the same day, Peraso provided Ubiquiti with notice

that it had done so. 40

                  20.      Shortly thereafter, on February 14, 2020, Ubiquiti filed a complaint against

Peraso in the United States District Court for the Southern District of New York. This litigation

remains pending and is captioned Ubiquiti Inc. v. Peraso Technologies Inc., Case No. 1:20-cv-

01312-LTS-GWG (S.D.N.Y.) (the “License Litigation”). 41 In the License Litigation, Ubiquiti




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     Glibbery Affidavit ¶ 43.
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     Glibbery Affidavit ¶ 44.
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     Glibbery Affidavit ¶ 43.
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     Glibbery Affidavit ¶ 45.
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     Glibbery Affidavit ¶ 45.
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     Glibbery Affidavit ¶ 46.
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     Glibbery Affidavit ¶ 47.




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alleges that Peraso’s termination of the License Agreement was improper and seeks various forms

of declaratory and monetary relief. 42 On March 10, 2020, Ubiquiti filed an amended complaint

that added William McLean, William James Whitaker, Shawn Abbott, David Adderley, Imed Zine

and Riadh Zine, all of whom were members of the Peraso Board at the time of the termination, as

personal defendants, all of whom were members of the Peraso Board at the time of the termination,

as personal defendants (collectively, the “Peraso Board Defendants”). 43 As a general matter,

Ubiquiti seeks, among other things: (i) a declaratory judgment that the License Agreement is in

full force and effect and that it is not in breach of its obligations under the License Agreement; (ii)

a declaratory judgment that Peraso is obligated to honor the terms of the License Agreement,

including the Exclusivity Clause; and (iii) monetary damages of at least $5 million.44 Peraso and

the Peraso Board Defendants have denied Ubiquiti’s allegations. 45 Peraso has also filed

counterclaims seeking, among other things: (x) a declaration that Peraso fulfilled its obligations

under the License Agreement; (y) a declaration that Ubiquiti failed to fulfill its obligations under

the License Agreement; and (z) monetary damages. 46 A number of deadlines in the License

Litigation are expected to occur within the next few weeks. In accordance with a scheduling order

entered in the License Litigation on May 21, 2020: (i) Peraso and the Peraso Board Defendants

must respond to Ubiquiti’s second amended complaint by June 12, 2020; (ii) initial document

requests and initial interrogatories shall be served by June 24, 2020; and (iii) the deadline for

joining parties or filing amended pleadings is June 30, 2020.




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     Glibbery Affidavit ¶ 47.
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     Glibbery Affidavit ¶ 49.
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     Glibbery Affidavit ¶ 50.
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     Glibbery Affidavit ¶ 51.
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     Glibbery Affidavit ¶ 51.




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                  21.      The License Litigation is the only pending litigation in the United States to

which Peraso is a party.

                  22.      On or about February 22, 2020, the potential third-party purchaser informed

Peraso that it was unwilling to move forward with the acquisition without a resolution of the

License Litigation. 47

                  23.      By February 2020, Peraso again faced an imminent risk of insolvency and

anticipated that by March 13, 2020, it would be unable to meet all of its obligations as they came

due, including payroll. 48 On February 28, 2020, certain members of the Peraso Board resigned,49

and on March 2, 2020, the disinterested remaining members of the Peraso Board approved, subject

to shareholder approval, a term sheet authorizing the offering of additional secured notes

backstopped by Roadmap, i.e., the 2020 Notes. 50

                  24.      Following such approval, on March 2, 2020, the Peraso Board distributed a

Management Information Circular to shareholders scheduling a shareholder meeting for March

12, 2020 to consider the offering of the 2020 Notes. 51 On March 3, 2020, the Peraso Board

distributed a Pre-emptive Rights Notice to shareholders offering shareholders the opportunity to

subscribe for the 2020 Notes on the same terms. 52




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     Glibbery Affidavit ¶ 48.
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     Glibbery Affidavit ¶ 52.
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     Glibbery Affidavit ¶ 53.
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     Glibbery Affidavit ¶ 54.
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     Glibbery Affidavit ¶ 55.
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     Glibbery Affidavit ¶ 56.




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                  25.     Ubiquiti declined to participate in the 2020 Notes 53 but, on March 11, 2020,

tendered a bridge loan facility as an alternative source of financing that, in the view of the Peraso

Board, was silent with respect to material terms and was subject to various conditions that could

not be satisfied. 54 The next day, Peraso held the scheduled shareholder meeting, at which the

shareholders present were informed of Ubiquiti’s proposal. 55 The shareholders unanimously

approved the issuance of the 2020 Notes. Ubiquiti did not attend the shareholder meeting. 56

                  26.     The issuance of the 2020 Notes closed on March 13, 2020, allowing Peraso

to meet certain of its obligations that were due at that time. 57 Roadmap was the only party to

subscribe to the 2020 Notes. 58 The 2020 Notes carry an interest rate of 6% per annum and mature

on December 31, 2023. 59

                  27.     On April 8, 2020, Ubiquiti Canada filed a Statement of Claim with the

Ontario Court naming Peraso, the Peraso Board Defendants, Ronald Glibbery, Roadmap, and

certain Roadmap affiliates as defendants and seeking, among other things: (i) a declaration that

certain steps taken by Peraso in securing financing in March 2020 amounted to oppression

pursuant to s. 248 of the Business Corporations Act (Ontario); and (ii) a declaration that Peraso’s

March 12, 2020 shareholder meeting, together with any and all votes taken, and resolutions

approved, at such meeting, are void (the “Oppression Litigation”). 60




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     Glibbery Affidavit ¶ 56.
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     Glibbery Affidavit ¶ 57.
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     Glibbery Affidavit ¶ 58.
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     Glibbery Affidavit ¶ 58.
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     Glibbery Affidavit ¶ 59.
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     Glibbery Affidavit ¶ 54.
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     Glibbery Affidavit ¶ 54.
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     Glibbery Affidavit ¶¶ 60-63.




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                  28.      In addition to the License Litigation and the Oppression Litigation, on

February 19, 2020, Ubiquiti Canada filed a Notice of Application with the Ontario Court alleging

that Peraso was in default of its obligations to provide Ubiquiti Canada, through an observer

appointed by Ubiquiti Canada to observe the Peraso Board, with notices of meetings of the Peraso

Board and all written information provided to the Peraso Board or any committee thereof. 61 On

April 20, 2020, Ubiquiti Canada filed a second Notice of Application with the Ontario Court

alleging that, despite requests from counsel for Ubiquiti Canada, Peraso failed to provide Ubiquiti

Canada with access to books and records required to be maintained pursuant to s. 140(1) of the

Business Corporations Act (Ontario). 62

                  29.      The License Litigation and the Oppression Litigation have significantly

impaired Peraso’s ability to seek additional financing, whether from private and public sources, or

engage with potential buyers. 63 The License Litigation also impairs Peraso’s ability to sell its

products, as it brings into question the ongoing enforceability of the License Agreement and, in

particular, the Exclusivity Clause. 64 Likewise, the Oppression Litigation raises questions about

Peraso’s capitalization structure and corporate governance. 65 In light of these disputes, and

Peraso’s ongoing liquidity issues, Peraso commenced the Canadian Proceeding in order to stabilize

its operations and seek a viable path forward for its business. 66




61
     Glibbery Affidavit ¶ 64.
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     Glibbery Affidavit ¶ 66.
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     Glibbery Affidavit ¶¶ 78-82.
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     Glibbery Affidavit ¶ 81.
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     Glibbery Affidavit ¶ 81.
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     Glibbery Affidavit ¶ 86.




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C.       Peraso’s Organizational Structure

                  30.      Peraso is a private corporation incorporated under the laws of the Province

of Ontario, with its principal place of business at 144 Front Street West, Suite 685, Toronto,

Ontario, Canada, M5J 2L7. 67 It has no subsidiaries. 68

                  31.      Pursuant to Peraso’s amended articles of incorporation dated March 2,

2016, Peraso was authorized to issue common shares, Class A Convertible Preferred Shares, Class

B Convertible Preferred Shares, and Class C Convertible Preferred Shares. 69

                  32.      Following a conversion of all outstanding Class A, Class B and Class C

Convertible Preferred Shares to common shares implemented on March 13, 2020, Peraso’s shares

are held by the following entities, either directly or through related vehicles (all of which are

common shares):


                  Investor                     Shareholding              Ownership %
      Roadmap Capital Inc.                      34,174,579                 26.11%
      Qorvo International Pte. Ltd              23,122,197                 17.67%
      Celtic House Venture Partners             14,197,928                 10.85%
      Inc.
      Total ESOP — Peraso                       11,883,709                   9.08%
      Technologies Inc. Stock Option
      Plan
       iNovia                                    9,652,587                   7.38%
      Ontario Capital Growth Fund                9,639,130                   7.36%
      VentureLink Funds                          7,405,797                   5.66%
      Ubiquiti Networks Canada Inc.              5,728,955                   4.38%
      Integrated Device Technology               5,665,393                   4.33%
      Malaysia SDN BHD



67
     Glibbery Affidavit ¶ 12.
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     Glibbery Affidavit ¶ 12.
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     Glibbery Affidavit ¶ 13.




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      Polar Multi-Strategy Master Fund          5,227,349                   3.99%
      Employees                                 3,693,415                   2.82%
      Other Investors                            400,000                    0.31%
      Comerica Bank                               90,000                    0.07%
      Total                                    130,881,039                 100.00%

In the Oppression Litigation, Ubiquiti Canada has challenged, among other things, the conversion

of its Class C Convertible Preferred Shares. 70

D.       Peraso’s Liabilities

                  33.      As of June 2, 2020, Peraso had liabilities aggregating approximately $6.9

million, consisting of: (i) secured indebtedness owed under the 2019 Notes of approximately $1

million to Roadmap and approximately $748,035.40 to Polar; (ii) secured indebtedness owed

under the 2020 Notes of approximately $3,885,000 to Roadmap; and (iii) unsecured obligations of

approximately $1.42 million. 71 The 2019 Notes and the 2020 Notes rank pari passu and are

secured by a general security interest in all present and after-acquired assets of Peraso. 72

                  34.      In addition, Ubiquiti is seeking monetary damages of at least $5 million in

the License Litigation, but has not quantified its requested damages in the Oppression Litigation.73

E.       Peraso’s Assets

                  35.     As at December 31, 2019, Peraso had approximately $8.9 million of assets

on its balance sheet. 74 Approximately $3 million consisted of property and equipment and $1.9




70
     Glibbery Affidavit ¶ 14.
71
     Glibbery Affidavit ¶¶ 70-76.
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     Glibbery Affidavit ¶ 72.
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     Glibbery Affidavit ¶ 76.
74
     Glibbery Affidavit ¶ 68.




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million consisted of cash and cash equivalents. 75 Peraso has approximately 45 patent applications

and has been granted approximately 25 patents. 76

F.       The Canadian Proceeding

                  36.      On June 3, 2020, Peraso commenced the Canadian Proceeding by filing an

application under the CCAA with the Ontario Court.

                  37.      On June 3, 2020, the Ontario Court entered the Initial Order, which, among

other things, appointed the Monitor and authorizes the Monitor to act as the foreign representative

of the Canadian Proceeding for the purposes of seeking recognition of the Canadian Proceeding in

the United States pursuant to Chapter 15 of the Bankruptcy Code, and authorizes Peraso to

continue in possession and control of its assets, to continue to carry on business in a manner

consistent with the preservation of its business, and to continue the use of its existing cash

management system.

                  38.      Further, for the period until and including June 13, 2020, or such later date

as the Ontario Court may subsequently order (the “Stay Period”), the Initial Order, among other

things: (i) prevents parties from terminating or altering their agreements with Peraso without the

written consent of Peraso and the Monitor or the leave of the Ontario Court; (ii) stays the

commencement or continuation of proceedings against Peraso and the Monitor without the written

consent of Peraso and the Monitor or the leave of the Ontario Court; and (iii) stays the

commencement or continuation of certain proceedings against former, current, or future directors

and officers of Peraso.



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     Glibbery Affidavit ¶ 68.
76
     Glibbery Affidavit ¶ 69.




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G.     Peraso’s Center of Main Interests

               39.     Peraso’s center of main interests is in Canada. Peraso is a corporation

incorporated under the laws of Ontario and has offices in Toronto and Waterloo, with its main

office in Toronto. None of its directors are outside of Ontario. While Peraso’s Vice President of

Finance is located in Arizona, Peraso’s senior management is otherwise in Ontario.

               40.     As of May 19, 2020, Peraso employs 78 employees and/or contractors, 64

of whom are analog, digital and software engineers that are critical to sustainability of its business.

The majority of Peraso’s workers are in Ontario.

               41.     Finally, Polar and Roadmap, the holders of the 2019 Notes and the 2020

Notes and Peraso’s only secured debt, are investment funds based in Ontario.

                                        RELIEF SOUGHT

               42.     By this Chapter 15 Petition, the Monitor seeks the following relief:


                       (A)     recognition, pursuant to section 1517 of the Bankruptcy Code, of the

Canadian Proceeding as a “foreign main proceeding” as defined in section 1502(4) of the

Bankruptcy Code;


                       (B)     all relief afforded to foreign main proceedings automatically upon

recognition pursuant to section 1520 of the Bankruptcy Code, including, without limitation,

application of the stay imposed by section 362 of the Bankruptcy Code;


                       (C)     enforcement of the Initial Order in the United States pursuant to

sections 105(a), 1507, and 1521 of the Bankruptcy Code; and




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                       (D)    such other and further relief as is appropriate under the

circumstances pursuant to sections 105(a), 1507, and 1521 of the Bankruptcy Code.

                                      BASIS FOR RELIEF

A.     Recognition of Canadian Proceeding

               43.     For the reasons more fully discussed in the Memorandum of Law, the

Canadian Proceeding is entitled to recognition under section 1517 of the Bankruptcy Code

because:


                       (A)    the Canadian Proceeding is: (i) a “foreign proceeding” within the

meaning of section 101(23) of the Bankruptcy Code and (ii) pending where Peraso has the “center

of its main interests” and is therefore a “foreign main proceeding” within the meaning of section

1502(4), in satisfaction of section 1517(a)(1);


                       (B)    the Monitor is the duly appointed “foreign representative” of Peraso

within the meaning of section 101(24) of the Bankruptcy Code and a “person” within the meaning

of section 101(41), in satisfaction of section 1517(a)(2); and


                       (C)    the case was properly commenced in accordance with sections 1504

and 1509 of the Bankruptcy Code and the Chapter 15 Petition meets the requirements of sections

1504 and 1515, in satisfaction of section 1517(a)(3).

               44.     Recognizing the Canadian Proceeding also would not be manifestly

contrary to the public policy of the United States, as prohibited by section 1506 of the Bankruptcy

Code. In fact, granting recognition will promote the United States public policy of respecting

foreign proceedings as articulated in, inter alia, sections 1501(a) and 1508 of the Bankruptcy Code




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and further cooperation between courts to the maximum extent possible as mandated by section

1525(a) of the Bankruptcy Code. Thus, the circumstances satisfy the conditions for mandatory

recognition of the Canadian Proceeding under section 1517 of the Bankruptcy Code.

B.      Enforcement of the Initial Order

                  45.   In connection with the recognition of the Canadian Proceeding as a “foreign

main proceeding,” the Monitor also seeks an order enforcing the Initial Order in the United States.

                  46.   Section 1507 of the Bankruptcy Code provides that, “if recognition is

granted,” a court “may provide additional assistance to a foreign representative under this title or

under other laws of the United States.” 11 U.S.C. § 1507. Similarly, section 1521(a) of the

Bankruptcy Code provides that, upon recognition of a foreign proceeding, and “where necessary

to effectuate the purpose of this chapter and to protect the assets of the debtor or the interests of

any creditors, the court may grant any appropriate relief . . . .” 11 U.S.C. § 1521. Such relief

includes, among other things, “granting any additional relief that may be available to a trustee,”

with certain exceptions that are not relevant here. Id. Finally, section 105(a) of the Bankruptcy

Code allows the Court to “issue any order . . . necessary or appropriate to carry out the provisions

of [title 11].”

                  47.   By the Initial Order, the Ontario Court expressly authorized the Monitor to

seek such relief in this Court as necessary to give effect to the Initial Order in the United States.

See Initial Order ¶¶ 20(f) (granting the Monitor “full and complete authority to act as the

representative of the Applicant in a foreign proceeding”), 37 (authorizing and empowering the

Monitor to act as the foreign representative for purposes of having the Canadian Proceeding




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recognized in a jurisdiction outside of Canada). Moreover, the Ontario Court expressly requested

the assistance of courts in the United States through the following provision of the Initial Order:

       [THE ONTARIO COURT] HEREBY REQUESTS the aid and recognition of
       any court, tribunal, regulatory or administrative body having jurisdiction in Canada
       or in the United States, to give effect to this Order and to assist [Peraso], the Monitor
       and their respective agents in carrying out the terms of this Order. All courts,
       tribunals, regulatory and administrative bodies are hereby respectfully requested to
       make such orders and to provide such assistance to [Peraso] and to the Monitor, as
       an officer of this Court, as may be necessary or desirable to give effect to this Order,
       to grant representative status to the Monitor in any foreign proceeding, or to assist
       [Peraso] and the Monitor and their respective agents in carrying out the terms of
       this Order.

Initial Order ¶ 40. The Monitor believes that enforcement of the Initial Order in connection with

the recognition of the Canadian Proceeding is necessary to give effect to such order in the United

States. Thus, in addition to the reasons set forth above, this Court should give full force and effect

in the United States to the Initial Order under well-established principles of international comity

and pursuant to sections 105(a), 1507, and 1521 of the Bankruptcy Code.


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                                        CONCLUSION

               WHEREFORE, the Monitor respectfully requests that this Court grant this Chapter

15 Petition and enter the Proposed Order recognizing the Canadian Proceeding as a “foreign main

proceeding,” enforcing the Initial Order in the United States, and granting such other relief as is

appropriate under the circumstances.


Dated: New York, New York                         ALLEN & OVERY LLP
       June 3, 2020
                                                  By: /s/ Ken Coleman ____
                                                  Ken Coleman
                                                  Jonathan Cho
                                                  1221 Avenue of the Americas
                                                  New York, New York 10020
                                                  Telephone: (212) 610-6300
                                                  Facsimile: (212) 610-6399
                                                  ken.coleman@allenovery.com
                                                  jonathan.cho@allenovery.com

                                                  Ernst & Young Inc., as the Monitor
                                                  and Foreign Representative of Peraso
                                                  Technologies Inc.




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                                 EXHIBIT A


                               Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                                  Chapter 15
PERASO TECHNOLOGIES INC.,                  1

                                                                  Case No. 20-_____ (___)
              Debtor in a Foreign Proceeding.



                ORDER GRANTING RECOGNITION AND RELATED RELIEF

                  This matter was brought by Ernst & Young Inc., as the court-appointed monitor

(the “Monitor”) and authorized foreign representative of Peraso Technologies Inc. (“Peraso”) in

a proceeding (the “Canadian Proceeding”) under Canada’s Companies’ Creditors Arrangement

Act, R.S.C. 1985, c. C-36, pending before the Ontario Superior Court of Justice, Commercial List

(the “Ontario Court”).

                  The Monitor has commenced this chapter 15 case ancillary to the Canadian

Proceeding by filing an official form petition and Verified Petition for Recognition of Foreign

Proceeding and Related Relief (collectively, the “Chapter 15 Petition”), with accompanying

documentation, pursuant to sections 1504 and 1515 of title 11 of the United States Code (the

“Bankruptcy Code”) seeking the entry of an order: (i) recognizing the Canadian Proceeding as a

“foreign main proceeding” under section 1517 of the Bankruptcy Code; and (ii) giving full force

and effect in the United States to the Initial Order of the Ontario Court dated June 3, 2020,

attached hereto as Exhibit 1 (together with any extensions or amendments thereof authorized by

the Ontario Court, the “Initial Order”).




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         The last four digits of the United States Tax Identification Number, or similar foreign identification
         number, as applicable, for Peraso Technologies Inc. are 8747.


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               The Court has considered and reviewed the Chapter 15 Petition and the other

pleadings and exhibits submitted by the Monitor in support thereof. No objections were filed to

the Chapter 15 Petition.

               After due deliberation and sufficient cause appearing therefore, the Court finds

and concludes as follows:

               (A)    this Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
                      and 1334 and 11 U.S.C. § 1501;

               (B)    this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P);

               (C)    venue is proper in this District pursuant to 28 U.S.C. § 1410;

               (D)    good, sufficient, appropriate and timely notice of the filing of the Chapter
                      15 Petition and the hearing on the Chapter 15 Petition has been given
                      pursuant to Local Rules 2002-4 and 9078-1 and Rule 2002(q)(1) of the
                      Federal Rules of Bankruptcy Procedure;

               (E)    the Canadian Proceeding is a “foreign proceeding” within the meaning of
                      11 U.S.C. § 101(23);

               (F)    the Canadian Proceeding is pending in Canada, where Peraso has the
                      “center of its main interests” as such term is used in 11 U.S.C. §
                      1517(b)(1), and as such constitutes a “foreign main proceeding” pursuant
                      to 11 U.S.C. § 1502(4) and in satisfaction of 11 U.S.C. § 1517(a)(1);

               (G)    the Monitor is the duly appointed “foreign representative” of Peraso
                      within the meaning of 11 U.S.C. § 101(24) and a “person” within the
                      meaning of 11 U.S.C. § 101(41), in satisfaction of 11 U.S.C. § 1517(a)(2);

               (H)    this case was properly commenced pursuant to 11 U.S.C. §§ 1504 and
                      1509 and the Chapter 15 Petition meets the requirements of 11 U.S.C. §§
                      1504 and 1515, in satisfaction of 11 U.S.C. § 1517(a)(3);

               (I)    the Canadian Proceeding is entitled to recognition as a “foreign main
                      proceeding” pursuant to 11 U.S.C. § 1517(b)(1);

               (J)    the Monitor is entitled to all relief afforded foreign main proceedings
                      automatically upon recognition pursuant to 11 U.S.C. § 1520 and to
                      additional relief pursuant to 11 U.S.C. §§ 1507 and 1521; and




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                 (K)   the relief granted herein is necessary and appropriate, in the interests of
                       the public and international comity, and consistent with the public policy
                       of the United States.

                 NOW, THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

                 1.    The Chapter 15 Petition is GRANTED.

                 2.    The Monitor is recognized as the “foreign representative” of Peraso within

the meaning of 11 U.S.C. § 101(24).

                 3.    The Canadian Proceeding is recognized as a “foreign main proceeding”

pursuant to 11 U.S.C. § 1517(b)(1).

                 4.    All automatic relief under 11 U.S.C. § 1520 shall apply in this case.

                 5.    The Initial Order, and any amendments or extensions thereof as may be

granted from time to time by the Ontario Court, is given full force and effect in the United States

pursuant to 11 U.S.C. §§ 1507 and 1521.

                 6.    This Court shall retain jurisdiction with respect to the enforcement,

amendment or modification of this Order, any request for additional relief or any adversary

proceeding brought in and through these cases, and any request by an entity for relief from the

provisions of this Order, for cause shown, that is properly commenced and within the jurisdiction

of this Court.

                 7.    The Monitor shall provide service and notice of this Order in accordance

with the Order Specifying Form and Manner of Service of Notice and Scheduling Recognition

Hearing entered by the Court in this case.




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Dated: New York, New York
       June __, 2020

                                                   __________________________
                                                   United States Bankruptcy Judge




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                                 EXHIBIT 1

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